                       INDEX TO EXHIBITS

                  Jane Doe v. CoreCivic, Inc., et al.
                        No. 4-20-cv-01828

EXHIBIT   DESCRIPTION

  A.      Record of Deportable/Inadmissible Alien
          (Redacted and Filed Under Seal)

  B.      Audio recording of February 6, 2019 telephone call between Jose
          Sanchez and HCSO Investigator
          (Non-Electronic Exhibit Filed Under Seal)

  C.      Harris County Incident Investigation Report, Case # 1902-01927
          (Redacted and Filed Under Seal)

  D.      Email from Jose Sanchez to HCSO Investigator, dated February 6,
          2019 (Redacted and Filed Under Seal)

  E.      Certified translation of March 8, 2019 telephone call between HCSO
          Investigator, ICE Special Agent and Female A
          (Redacted and Filed Under Seal)

  F.      Certified translation of April 5, 2019 telephone call between HCSO
          Investigator, ICE Special Agent and Plaintiff
          (Redacted and Filed Under Seal)

  G.      Audio recording of March 8, 2019 telephone call between HCSO
          Investigator, ICE Special Agent and Female A
          (Non-Electronic Exhibit Filed Under Seal)

  H.      Audio recording of April 5, 2019 telephone call between HCSO
          Investigator, ICE Special Agent and Plaintiff
          (Non-Electronic Exhibit Filed Under Seal)
EXHIBIT A
CORECIVIC_DOE000004
CORECIVIC_DOE000005
CORECIVIC_DOE000006
    EXHIBIT B
NON-ELECTRONIC
     EXHBIT
FILED UNDER SEAL
EXHIBIT C
HC ~~ so
H A R R I S     ,..., C 0 U NT Y - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                                               SHERIFF ED GONZALEZ
sHE R 1 F F'S        o F F 1c E    1200 Baker Street, Houston, Texas 77002   *   (346) 286-1600   *   www.sheriff.hctx.net




        Date:                          August 27, 2020



        Requestor:                     Chris Knudsen   I Attorney at Law


        Records Requested :            Your Texas Public Information Act request received for records
                                       pertaining to Offense Report No. 190201927




        Enclosed is certified copy of records pertaining to Offense Report No. 190201927

        Please be advised that we are cl osing our file on this matter.



        Sincerely,
        Office of Legal Services
        (TPIA Legal Section)




                         ''TO ENHANCE THE SAFE.TY AND PROTECT THE TRUST OF THE CITIZENS
                  OF HARRJS COUNTY BY ENFORCING THE LAW WITH INTEGRITI AND PROFESSIONAUSM."



                                                                                  CORECIVIC_DOE000038
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  2929 lenP                                                                           lOt
        SIIIW1600                                                                              •1600
 Hou.-n, Ta•s no1                                                                 A.._.."'     New     17102


                                     e el neslln rewsiCollen riBel
                                                  June 25, 2020                       RECEIVED
Harris County Sheriff's Office                                                        JUN 3 0 2020
Attention: Legal Department
1200 Baker Street
Houston, Texas 77002
                                                                             LEGAL SERVICES
          Re:       Case#:                    1902-1927
                    Complainant:             redacted

                    Location:                15850 Export Plaza Dr., Houston, TX 77032
                    Date of Incident:        June I, 2018


To Whom It May Concern:

        Pursuant to the Texas Public Information Act, I am requesting copies of records related to
the investigation by the Harris County Sheriff's Office of a complaint made by redacted
redacted                                                                  about an incident that
allegedly occurred at the Houston Processing Center, 15850 Export Plaza Dr., Houston, TX
77032 on or around June I, 201 8 (referred to herein as the "Alleged Incident"). I believe Harris
County Sheriff's Office has assigned this Case# 1902-1927.

          Specifically, I am requesting a copy of the following documents

          I.        Harris County Sheriff's Office' s ("HCSO") investigative file of the Alleged
                    Incident.
          2.        HCSO' s Incident or Investigation Report for the Alleged Incident, including any
                    updates to the report.
          3.        All documents reflecting HCSO's findings and/or conclusions resulting from its
                    investigation ofthe Alleged Incident.
          4.        All documents reflecting statements made by redacted                     lawyers, and/or
                    any witnesses in connection with this investigation.
          5.        All notes, memo , and other documents summarizing interviews with redactedz,
                    redacteds lawyers, and/or any witnesses in connection with this investigation .
          6.        All notes, memos, and other documents summarizing the evidence obtained in
                    connection with this investigation.

                             Main   713~524400     Fax 7134524499 Direct 7134524479
                                    WW\   serpejones cor1 cknudser@serpeJones.com




                                                                                  CORECIVIC_DOE000039
PIA toHCSO
June 25, 2020
Page2


            7.     All video, audio, and/or electronic recordings of statements made by redacted
                   redacted lawyers, and/or any witnesses in connection with this investigation.
            8.     Documents reflecting any testing performed in conjunction                  with this
                   investigation, including, but not limited to, DNA testing.
            9.     All documents concerning potential suspects, persons of interest, or persons
                   involved in the Alleged Incident.
            10.    All documents gathered or generated by HCSO during its investigation of the
                   Alleged Incident.
            11 .   All video and/or photographs collected during this investigation and any videos
                   and/or photographs of any evidence collected during this investigation.
            12.    All logs, spreadsheets, chart, list, or other record reflecting the evidence collected
                   during the investigation.

            13.    All communications with Vasquez's lawyer(s).

          This information is not being sought for commercial purposes. Thank you for your help
. in this matter. Please do not hesi tate to contact me should you have any questions.

                                                                 Best regards,




                                                                 ChrisM. Knudsen
1193800vl




                                                                                 CORECIVIC_DOE000040
       Agency Name                                                             INCIDENT/INVESTIGATION                                              Case#
                                                                                                                                                             1902-01927
                 Harris County Sheriffs Office                                                       REPORT                                         Date I Time Reported
  I    OR!                                                                                                                                                     02106/20 I9 17:08 Wed
  N
  c
                                  TXI OIOOOO                                 **         Contains Restricted Names                      **           Last Known Secure

  I
       Location of Incident                                                             Premise Type                          I   Beat/ConstDist
                                                                                                                                                   At Fo und
                                                                                                                                                               02/06/20 I 9 17:08 Wed
  D         I5850 EXPORT PLAZA DR, Houston TX 77032-                                        Government/public                                                  02/06/20I9 17: 08 Wed
  E
       #1
                Crime Incident(s)                                      (Com )           Weapon I Tools                                                                        I   ACtiVIty

  T
              Sexual Assault
              PC 22.0 II (a)(l)
                                                                                        Entry                          Exit                            I Security
  D             Crime Inci dent                                        (        )       Weapon I Tools                                                                            ActiVIty
  A    #2                                                                                                                                                                     I
  T                                                                                     Entry                          Exit                            I Security
  A
       #3
              Crime Incident                                           (        )       Weapon I Tools                                                                        I ACtiVIty
                                                                                        Entry                          Exit                            I Security
  MO

       #of Victims I              I
                               Type: INDI V ID UAL                                                     Injury: Other Major Injuries
             Victim/B usiness Name (Last, First, Middle)                                            Victim of     DOB       Race se~ Relationship               Resident Status      Military
        VI redacted
                                                                                                              ~
   v                                                                                                Crime#                           To Offender                                  Branch/Status
   I       R estricted                                                                                  I                            w     F   IR U            Non-Resident
   c    Home Address                                                                                                                                    I Home Phone
  T
  I
  M
        Employer Name/Address                                                                                                         Business Phone            I Mobile Phone
        VYR          Make         I Model            I Style      I Color                   I Lie/Lis                                YIN

        CODES : V- Victim (Denote V2, V3)           0 = Owner (if other than victim)            R =Reporting Person (if other than victim)
        Type:                                                                                         Inj ury:
  0
  T    Code      Name (Last, First, Middle)                                                        Victim()f        DOB             Race Se    Relationship    Resi dent Status      Mil itary
  H                                                                                                Crime#                                      To Offender                        Branch/Status
  E                                                                                                              Age
  R
  s
        Home Address                                                                                                                                    I Home Phone
        Employer N arne/ Address                                                                                                     Business Phone             I Mobile Phone
  I
  N     Type:                                                                                         Injury:
  v             Name (Last, First, Middle)                                                         Victi m of       DOB             Race Se    Relationsh ip   Resident Status       Military
       Code
  0                                                                                                Crime#                                      To Offender                        Branch/Status
  L
  v
  E
  D
        Home Address
                                                                                                                 Age
                                                                                                                                                        l   Home Phone

        Employer Name/Address                                                                                                        Busmess Phone                  I Mobile Phone
        I =None      2 =Burned        3 = Counterfe it I Forged 4 = Damaged I Vandalized            5 = Recovered      6 = Seized     7 = Stolen 8 = Unknown
                                             "OJ" = Recovered for Other Jurisdiction)
        ~ I Cod     Status
                    Frmff         Value       OJ   OTY                     Property Description                                       Make/Model                           Serial Number



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       OfficerllD#           redacted                                               )
       Invest ID#            redacted                                                                                  Supervisor      redacted
Status Compl ainant Signature                                                                                          Case Dispos ition:
                                                               Case Status
                                                             A ctive                                  02106/2019                                                             I       Page 1
       R CSliBR                               Pnnted By: redacted          , HCSO                                   Sys#: 2263944                                           07/22/2020 17:20




                                                                                                                                     CORECIVIC_DOE000041
                                                               INCIDENT/INVESTIGATION REPORT
  Harris County Sheriffs Office                                                                                                         Case#    1902-01927
Status     I =None     2 = Burned         3 =Counterfeit I Forged   4 = Damaged I Vandalized   5 = Recovered   6 = Seized   7 = Stolen 8 =Unknown
Codes

         IBR   Statu           Quantity         Type Measure                     Suspected Type                                      Up to 3 types of activ ity



 D
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 s




         Ass isting Officers




         Suspect Hate I Bias Motivated:          NONE (NO BIAS)

                                                                    INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 1902-01927                                          Harris County Sheriffs Office
   ARRAT I VE
An (un)known offender(s) intentionally or knowingly caused the penetration of the anus or sexual organ of another person by any means,
without that person 's consent; or caused the penetration of the mouth of another person by the sexual organ of the actor, without that
person's consent; or caused the sexual organ of another person, without that person' s consent, to contact or penetrate the mouth, anus, or
sexual organ of another person.




R CS2IBR                                                              By: redacted    O, HCSO 07/2212020 17:20                                                    Page 2



                                                                                                                            CORECIVIC_DOE000042
                                          REPORTING OFFICER NARRATIVE                                    OCA
Harris County Sheriffs Office                                                                                  /902-0192 7
       Victim                                      Offense                                               Date I Ti me Reported
          redacted                                     SEXUAL ASSA ULT                                      Wed 02/06/2019 17:08

I                     THE INFORMATION BELOW IS CONFI DENT IAL - FOR US E BY AUTHORIZED PERSONNE L ONLY




       SCENE SUMMARY:

       The scene was described to be a Houston Detention Facility for U.S. Immigration and Customs Enforcement. The
       facility is located at 15850 Export Plaza Drive Houston, Harris County, Texas 77032.

       This deputy investigator did not make the original scene.

       INVESTIGATIVE NARRATIVE:

       On Tuesday, February 5, 2018, I, Deputy redacted , Unit 60D17, was advised per Sergeant redacted to make
       contact with attorney, Jose Sanchez, at the provided phone number in reference to a sexual assault allegation.

       I made contact with attorney, Jose Sanchez, at the provided phone number (903) 736-8936. I introduce myself and
       explained the reason for my call.

       He advised he would return my call once he was back in his office to gather the case information. He advised he had
       my phone number which showed up on his cellphone caller ID. He agreed to return my call to discuss the case
       further.

       The following d~ry 6, 2018, I made contact with Mr. Sanchez in reference to his client, victimredacted
       redacted, DOB: - -. He advised he is representing Ms. redacted in a criminal investigation of sexual assault
       that occurred on June 2, 2018.

       He stated Ms. redactedwas arrested on May 2016 in Wood County on an Injury to a child charge. He stated an ICE
       immigration hold was placed on her and she was transferred to TDCJ-Gatesville unit. She was at the Gatesville Unit
       for approximately 15 days and then transferred to the Houston Detention facility.

       Mr. Sanchez stated while Ms. redactedwas at the Houston Detention Facility, she and two other women were taken
       into a dark room and sexually assaulted by staff members. He stated she advised him that these staff members took
       them into a dark room with covered faces and sexually assaulted all three of them.

       He stated Ms. redacted advised him this all took place around midnight on June 1, 2018 . The following morning, Ms.
       redactedwas deported to Nuevo Laredo and then after to Zacatecas.

       A few days later, Ms. redactedfound out she was pregnant as a result of the sexual assault. He stated her family
       reached out to him to investigate this matter.

       Mr. Sanchez advised that Ms. redacted had been incarcerated since May 2016 on the state charge of indecency with a
       child which confmned she had not been out in public.

       He advised Ms. redactedgave birth on January 28, 2019 in Zacatecas. He stated the baby was born three weeks early
       due to some complications. He stated she was detained at that facility within that time frame which led to the time the
       baby was born.

       He stated Ms. redacted reassured him that the incident occurred and she wants to pursue with the investigation. He
       advised the facility is owned by Corecivic which is private company. The facility is then leased to U.S. Immigration
       and Customs Enforcement which is a Federal agency.


    Reporting Officer: redacted             Printed By: redacted   O, HCSO   07/22/2020 I7:20                                    Page 3
    R CSJNC



                                                                                                CORECIVIC_DOE000043
                                        REPORTING OFFICER NARRATIVE                                  OCA
Harris County Sheriffs Office                                                                              1902-01927
    Victim                                      Offense                                              Date I Time Reported
       redacted                                      SEXUAL ASSAULT                                    Wed 02/06/201917:08

I                 THE INFORMATI ON BELOW IS CONFIDENT IAL - FOR USE BY AUTHO RI ZED PERSONNEL ONLY
                                                                                                                                     I
    He advised he is a personal injury lawyer and is going after Corecivic in a civil matter. He advised he is willing to
    cooperate with law enforcement in the criminal matter.

    He stated he is willing to make Ms. redactedavailable for the investigation. He understands that DNA is required to
    prove the sexual assault and facilitate Ms. redactedcome to the Mexican/US border.

    I advised him that I needed to confirm if the incident and the location of the incident is in Harris County Sheriffs
    Office jurisdiction.

    He then provided me with Ms. redacted contact information:

    Cellphone: redacted             8
    Home: redacted

    I then sent Mr. Sanchez and email with my contact information as a test email. He advised he would be providing
    documents pertaining to his client, Ms. redacted

    Audio Recording attached.

    End of supplement.




Reporting Officer:redacted      .        Printed By: redacted   , HCSO   07/22/2020 17:20                                   Page 4
R CSJNC



                                                                                            CORECIVIC_DOE000044
                                                               Incident Report Suspect List
 Harris County Sheriffs Office                                                                                                                     OCA:        1902-01927


     Name (Last, First, Middle)                                       Also Known As                                              Home Address
 1
       *No name*
     Business Address


       DOB                                                            Wgt
                                                                                 I   Hair   I   Eye          I   Ski n
                                                                                                                                 Driver's License I State.


      Scars, Marks, Tattoos, or other distinguishing features




     Reported Suspect Detail           Suspect Age                 Race     I Sex I Eth I Height                                 Weight                    I   SSN

     Weapon, Type       I   Feature      I   Make
                                                                   Model                            I   Co lor               Caliber   I   Dir of Travel
                                                                                                                         I                 Mode of Travel
     VehYr/Make/Model                        I   Drs l Style               I Color              I   Lic/St                                 I VlN
     Notes                                                                                                 Physical Char




R CSBIBR                                                  Printed By: redacted          , HCSO          07/22/2020 17:20                                                    Page 5



                                                                                                                                 CORECIVIC_DOE000045
                                       CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                   OCA:    190201927
                  THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                          Case Mng Status: CLOSED                           Occurred: 02106120 I 9

    Offense: SEXUAL ASSAULT


Investigator: redacted                                               Date/Time: 02/06/2019 19:51:08, Wednesday

Supervisor: redacted                              Supervisor Review Date I Time: 02/06/2019 21 :09:05, Wednesday
   Contact:                                                           Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 February 6, 2019; 12:38 PM

 I attempted to make contact with redacted redacted who is a Deputy Field Director for the U.S. Immigration and Customs
 Enforcement agency. I left him a voicemail with my contact information to return my call.

 I then sent an email to Mr. redactedadvising him of the incident.

 1:58PM

 I received an email from redacted redacted Deportation Officer with U.S. Immigration and Customs Enforcement, in
 reference to the email sent to Mr. redacted

 3:35PM

 I recieved a return phone call from Mr. redacted who stated he oversees the Corecivic facility, which is a private
 faci lity that is contracted through the U. S. Immigration and Customs Enforcement agency.

 He advised the agency who conducts the criminal investigation involving staff and detainees is the Houston Police
 Department. He stated they has surveillance footage throughout the facility that is stores up to six months of video.

 I provided him with the victim's infonnation and he adv ised he would call me back after he gathered more information.

 3:57PM

 I received a return call from Mr. redacted who advised the victim,redacted          , never made an allegation of a
 sexual assault involving staff at the facility.

 He advised that per Corecivic policy; female detainees do not make contact with male officers. He advised that females
 are in a different part of the faci lity away from the males. He stated Ms. redactedwas at this Houston Detention Facility
 from March 30,2018 to June 1, 2018 . He stated the video surveillance only remains saved for




       Investigator Signature                                     Supervisor Signature

                                                                                                                    Page 6


                                                                                   CORECIVIC_DOE000046
                                         CASE SUPPLEMENTAL REPORT                                   Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                     OCA:   190201927
                  THE TN FORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                           Case Mng Status: CLOSED                             Occurred: 0210612019
    Offense: SEXUAL ASSAULT


Investigator: redacted               )                               Date I Time: 02/06/2019 19:51:08, Wednesday
Supervisor: redacted                                Supervisor Review Date I T ime: 02/06/2019 21:09:05, Wednesday
   Contact:                                                            Reference: Follow Up Supplement



 about 90 days but a request can be made to headquarters to obtain additional footage.

 He advised the victim left to Mexico by bus, which usually leaves the facility at approximately 7:30am. Mr. redacted
 advised he will request the footage for a week prior to the date of the incident. He advised the footage usually goes back
 only 90 days so their might be a possibility they might not be able to obtain footage. He advised her wou ld request the
 footage from May 27, 2018 to June 1, 2018 .

 Mr. redacted advised Ms. redactedwas held in a 15 person dorm with additional females. He stated female detention
 officers are the only ones that work in that part of the faci lity. He advised he would be able to provide a roster for the
 detention officers that were working on the date the alleged incident occurred.

 We arranged to meet on, Thursday February 7, 2019 around 8:3 0am.

 Emails (correspondences) have been attached.

 End of supplement.




       Investigator Signature                                       Supervisor Signature

                                                                                                                      Page 7


                                                                                     CORECIVIC_DOE000047
                                       CASE SUPPLEMENTAL REPORT                                  Printed : 07/22/2020 17:20



Harris County Sheriffs Office                                                                  OCA :   190201927
                  TH E INFORMATION BELOW IS CONF IDENTIAL - FOR USE BY AUT HORIZED PE RSONNEL ONLY

Case Status: ACTIVE                          Case Mng Status: CLOSED                           Occurred: 02/0612019

   Offense: SEXUAL ASSAULT


Investigator: redacted                                             Date I Time: 02/07/2019 16:47: 35, Thursday

Supervisor: redacted                              Supervisor Review Date I Time: 0210712019 16:49:07, Thursday
   Contact:                                                          Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 February 7, 2019; 9:00AM

 Sergeant redacted and I traveled to the CoreCivic: Houston Processing Center located at 15850 Export Plaza Dr.
 Houston, Texas 77032.

 We met with the assistant warden, redacted Johnson and investigator redactedJohnson who escorted us to the command
 center.

 We further met with Immigration and Customs Enforcement deportation officers, redacted               and redacted . Mr.
 redacted explained that they are both the contracting officer representative for the facility. He stated the facility is
 managed by a private company (CCA) but contracted out from the government.

 Mr. redacted was provided with a copy of the Harris County Sheriffs Office case file which included the offense report
 and documents sent from the victim's attorney.

 Mr. redacted advised Ms. Johnson wi ll do an "in-house" investigation for further review. He then stated the case would
 be forwarded to the Office of Inspector General for a criminal investigation.

 A copy of the case file was also released to Ms. Johnson .

 End of supplement.




       Investigator Signature                                     Supervisor Signature

                                                                                                                    Page 8


                                                                                   CORECIVIC_DOE000048
                                       CASE SUPPLEMENTAL REPORT                                 Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                  OCA:   190201927
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Case Status: ACTIVE                          Case Mng Status: CLOSED                          Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted                                             Date I Time: 03/20/2019 18: 34:04, Wednesday

Supervisor: redacted                              Supervisor Review Date I Time: 04/01/2019 17:38:24, Monday
   Contact:                                                         Reference: Follow-up



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 February 19, 2019

 I received a call from Special Agent redacted with the office of Professional Responsibility with the department of
 Imm igration and Customs Enforcement. She adv ised that due to the nature of the case they will not be able to work the
 investigation . She advised we can work the case jointly and they can provided federal resource if needed .

 We arranged to meet at 601 Lockwood to discuss the case and exchange information .

 February 20, 2019

 Sergeant redacted and I met with Special Agent redacted        and Special Agentredacted        in reference to this case.

 We agreed to conduct a walk-through of the Core civic Houston Detention facility located at 15850 Export Plaza Dr. in
 Houston, Harris County, Texas., where the alleged incident occured.

 End of supplement.




       Investigator Signature                                     Supervisor Signature

                                                                                                                   Page 9


                                                                                  CORECIVIC_DOE000049
                                          CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                    OCA:   190201927
                   THE INFORMATI ON BELOW IS CONF ID ENTI AL - FOR USE BY AUTHORIZED PERSONNE L ONLY

Case Status: ACTIVE                             Case Mng Status: CLOSED                         Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted               )                               Date I Time: 03/20/2019 18:52: 44, Wednesday

 Supervisor:   redacted              )              Supervisor Review Date I Time: 04101/2019 17:39:56, Monday
   Contact:                                                           Reference: Follow-up



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 February 25, 2019

 A walk-through of the Core civic Houston Detention Facility was conducted.

 The walk-through provided an understanding of the facility's discharge process in June 2018, to observe the areas that
 victim redacted             walked through and was detained in during the discharge process.

 Photographs were obtained by Deputy Investigator redacted .

 The following personnel also participated in the walk-through:
                                                                                                                  redacted
 Harris County personnel:Sergeant redacted , Deputy redacted, Deputy redacted        , Deputy redacted, Deputy
 redacted

 Immigration and Customs Enforcement, Office of professional responsibility: Special Agent redacted            and Special
 Agent redacted .

 Deportation officers: redacted          and redacted    , Contracting Officer's Representatives.

 Core Civic personnel: Assistant Warden redacted Johnston, Chief redacted Blue, Investigator redactedJohnston.

 End of supplement.




       Investigator Signature                                       Supervisor Signature

                                                                                                                       Page 10


                                                                                    CORECIVIC_DOE000050
                                        CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                   OCA :   190201927
                  THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUTHORIZED PERSONNEL 0 LY

Case Status: ACTIVE                          Case Mng Status: CLOSED                            Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted              )                               Date I Time: 03/25/2019 18:24:05, Monday

Supervisor:   redacted                             Supervisor Review Date I Time: 03/26/2019 14:36:15, Tuesday
   Contact:                                                           Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 February 26, 2019; 1:00PM

 Senior Special Agent redacted and I made contact with the victim, redacted                  , via a long distance phone
 call to Mexico at phone number redacted              . We advised her we are both working the criminal investigation of
 sexual assault that occurred while she was detained the Houston Detention Facility.

 The following it a synopsis of her statement:

 redacted                was identified by her name and date of birth, -        .

 Ms. redacted stated she lived in the United Stated for 16 years. She stated she resided in Texas for 10 years and was
 incarcerated for last 2 years of that time. She confrrmed she was detained in Gatesville, Texas prior to being sent to the
 Houston Detention Facility Center. She stated she was there for approximately 2 months from April to June 2018 . She
 was deported back to Mexico on June 1, 2018.

 Ms. redacted stated at approximately 3:00pm on June 1, 2018, she was removed from her living area to start the
 process of her deportation. She stated she was taken to a cell block along with two other unknown females. She advised
 she did not know the other females since they were housed in a different housing pod .

 Ms. redacted stated at approximately 12:00 am three unknown males entered their cell block. She stated the males
 began to physically and sexually assault them. She stated the males had their faces covered with an unknown item, so
 she was not able to make out their faces.

 She stated the males all spoke to them in English so she was not able to understand their commands. She stated the men
 hit them with their hands on their bodies and faces. She stated she told them to stop in English several times but they
 refused. She stated the males told them to be quiet by putting their finger on their own lips as a sign to be quiet. She
 stated they threatened it would be worse if they resisted . She stated the males began to undress each female one-by-one
 and each individual male forcefully penetrated one female.                                                 ·

 Ms. redacted stated an unknown male forcefully penetrated her vagina and her anus without her consent. She stated she
 did not resist and let him do whatever he wanted to her out of fear.




       Investigator Signature                                      Supervisor Signature

                                                                                                                   Page 11


                                                                                    CORECIVIC_DOE000051
                                        CASE SUPPLEMENTAL REPORT                                   Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                    OCA :   190201927
                  THE INFORMATION BELOW IS CONF IDENTI AL- FOR USE BY AUTHORIZED PERSONNEL ONL Y

Case Status: ACTI VE                          Case Mng Status: CLOSED                            Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted              )                                Date I Time: 03/25/2019 18:24:05, Monday

Supervisor: redacted                               Supervisor Review Date I Time: 03/26/2019 14:36: 15, Tuesday
   Contact:                                                           Reference: Follow Up Supplement



 Ms. redacted stated the three males were dressed differently in civilian clothes. She confirmed they were not in uniform.
 She stated all three males had on different color clothing.

 Ms. redacted described one male wore dark pants with a dark gray collar shirt. She stated she did not take a good look
 at their clothing but stated they were wearing dark clothing. She stated another male had on a maroon shirt and blue
 jeans. Ms. redactedwas not able to give good clothing descriptions on the males.

 Ms. redacted was not able to provide the skin complexion of the males. She stated one of the males was not a Mexican,
 possibly a white male.

 Ms. redactedthen stated the men exited the room individually when they were done raping them and told them not to
 say anything. She stated they were in that cell block until about approximately 4:00-5:00 am when they got on the bus
 to go to Mexico.
 Ms. redacted stated the cell block they were assaulted in looked like it was not used often. She stated the cell block only
 had a restroom and a bench to sit on. She stated the assault occurred in the cell block they had been held at for a long
 period of time awaiting their deportation.

 I asked her why she did not make a report of the incident after it happened to collaborate with the other females who
 were involved in the assault; she stated they did not discuss it amongst themselves because they were scared . She stated
 the other females did not speak good Spanish because they were born in the United States.

 I asked her if the male who sexually assaulted her wore a condom or used protection of any kind during the alleged
 sexual assault; she stated she did not see.
 I asked her how long the assault took place; she stated a while.

 Ms. redacted stated she did not sustain any injuries but had bruises on the right side of her face and lips. She stated she
 did not have photographs that documented the bruising but was in pain.

 Ms. redacted stated the three males came back after a while with their faces covered to remove them from the cell
 block. She stated they had their faces covered with a black cloth.

 Ms. redacted stated the three males boarded the bus to Mexico with her and the other deportees, with their faces
 covered. She stated she was able to identify the male who sexually assault her by the clothing he was wearing i.e. his
 pants. She was able to then identify the other two males because they were w ith the one male who sexually assaulted
 her. She stated the males were sitting on the bus in the same section as the male deportees, with their faces covered the
 entire time.




       Investigator Signature                                      Supervisor Signature

                                                                                                                    Page 12


                                                                                    CORECIVIC_DOE000052
                                       CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                  OCA :   190201927
                  THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                         Case Mng Status: CLOSED                            Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted             )                               Date I Time: 03/25/2019 18:24:05, Monday

Supervisor: redacted                              Supervisor Review Date I Time: 03/26/2019 14:36:15, Tuesday
   Contact:                                                          Reference: Follow Up Supplement




 Ms. redacted stated the three males then exited the bus and were left at the Mexican! US bridge along with the
 deportees. She stated the three men stayed at the border and she continued on to Mexico. She stated she was handcuffed
 by her wrists to the front of her body during the entire ride from Houston to the Mexico border.

 Ms. redacted stated she arrived at Nuevo Laredo, Tamaulipas at an immigration house named "Casa de inrnigrante,"
 where she consulted with an immigration lawyer. She was there for two days because she did not have any money to get
 to her fmal destination. She stated on June 6, 2018, the lawyer provided her funds to go to Zacatecas. She arrived at her
 destination on June 6, 2018.

 I asked Ms. redacted if she was given a medical screeni ng when she arrived at the immigration detention facility; she
 stated yes but they did not tell her she was pregnant.

 I asked her how she discovered she was pregnant; she stated because she did not get her monthly menstrual cycle. She
 stated her last menstrual cycle was May 18, 2018 and expected to get the next one on June 18, 2018. She stated she
 began to develop pregnancy symptoms, so she went to go get checked. She stated she took a pregnancy test three weeks
 after she arrived to Zacatecas and found out she was pregnant. She stated she had not had sexual intercourse with
 anyone when she arrived to Mexico.

 Ms. redacted stated she has seven (7) children and was married in the US. She stated her husband left the US with all
 her children wh ile she was incarcerated.

 Ms. redacted stated she went to live with her mother when she arrived to Mexico. She stated her husband lives close to
 where she lives but has not told him anything about the sexual assault. She stated she went to her husband' s house to
 ask for her children and told him that she did not want to be with him anymore. She stated her husband asked her for an
 explanation as to why she did not want to have anything to do with him and told him she was traumatized. She stated
 while in the US, her husband was physically abusive, so she did not want to be with him any longer.

 Ms. redacted stated the baby was born on January 29, 2019. She stated she finally told her husband about the pregnancy
 when her stomach was showing and told him she was raped.

 Ms. redacted stated they baby's name is redacted                              . She stated she gave birth at 35 weeks
 gestation, but her due date was February 27, 2019.

 Ms. redactedstated she went to Zacatecas to speak with a lawyer who then sent all the documents to Mr. Jose




       Investigator Signature                                     Supervisor Signature

                                                                                                                  Page 13


                                                                                  CORECIVIC_DOE000053
                                        CASE SUPPLEMENTAL REPORT                                   Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                    OCA:   190201927
                  THE INFORMATION BELOW IS CONF IDE TIAL - FOR USE BY AUTHOR IZED PE RSONNEL ONLY

Case Status: ACTIVE                           Case Mng Status: CLOSED                            Occurred: 02/06/2019

   Offense: SEXUAL ASSAULT


Investigator: redacted              )                                Date I Time: 03/25/2019 18:24:05, Monday
Supervisor: redacted                               Supervisor Review Date I Time: 03/26/2019 14:36: 15, Tuesday
   Contact:                                                           Reference: Follow Up Supplement



 redactedher current attorney in the US .

 Ms. redactedwas asked again about the males who allegedly sexually assaulted her. She stated the three males boarded
 the bus with their faces covered . Special Agent redacted asked her if anyone on the bus had told the males to uncover their
 faces whi le on the bus; she stated NO.

 I explained to her that for my investigation I would need to obtain a DNA sample from her, the newborn baby and her
 husband; she agreed to comply.

 Special Agent redacted asked Ms. redactedwhy she waited so long to make the report and is finally making the report; she
 stated she did not make the report. She stated she told her friend , redacted , who lives in Texas about the alleged
 sexually assault. She stated she needed to vent to someone about what had happened . She stated her friend, redacted was
 the one who contacted the attorney in this investigation. She stated redacted told her what was done to her was wrong.

 We asked her for Ms. redacted phone number but she did not have it at the time.

 Ms. redacted stated her family did not believe she had been sexually assaulted.

 Ms. redacted stated she has not had any sexual contact with anyone since she arrived in Mexico including her husband .

 I informed her that her case was active and under investigation. She advised she did not have access to an email or
 internet to be able to provide documents.

 Audio recording attached.

 End of supplement.




       Investigator Signature                                      Supervisor Signature

                                                                                                                    Page 14


                                                                                    CORECIVIC_DOE000054
                                        CASE SUPPLEMENTAL REPORT                                   Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                    OCA:   190201927
                  THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUT HORIZ ED PERSONNEL ONLY

Case Status: ACTIVE                          Case Mng Status: CLOSED                             Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted              )                               Date I Time: 03/26/2019 09:25:43, Tuesday

 Supervisor: redacted                             Supervisor Review Date I Time: 03/29/2019 11 :57: 38, Friday
   Contact:                                                          Refere nce: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 March 1, 2019

 Senior Special Agent redacted , ICE Office of Professional Responsibility and I made several attempts to contact the
 other alleged female victims redacted   and redacted        via phone.

 I obtain several different contact phone numbers using the CLEAR database and information obtain by Special Agent
 redacted


 The following phone calls were placed to contact vicitm redacted         :

 redacted          at 1132. The phone rang continuously and was not answered . Negative results.

 redacted          at 1133. A voicemail was left with the return phone number provided to be Special Agent redacted

 redacted          at 1135 . The call was not answered, and a message was not recorded because the voicemail box had not
 been set up.

 redacted          at 1138 . A voicemail was left with the return phone number provided to be Special Agent redacted

redacted          at 1140. The call was not answered, and a message was not recorded because the voicemail box had not
 been set up.

 redacted          at 1141. The telephone number was not in service.

 redacted          at 1142. The telephone number was disconnected or not in service.

 redacted          at 1143. The te lephone number was disconnected or not in service.

 redacted          at 1144. The call was answered by an unidentified male that stated we had the wrong number.

 The following phone calls were placed to contact victim redacted         :




       Investigator Signature                                     Supervisor Signature

                                                                                                                    Page 15


                                                                                   CORECIVIC_DOE000055
                                        CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                   OCA:   190201927
                  THE INFO RMATI ON BELOW IS CONF IDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                         Case Mng Status: CLOSED                             Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted              )                              Date I Time: 03/26/2019 09:25:43, Tuesday
Supervisor: redacted              I)              Supervisor Review Date I Time: 03/29/2019 11 :57:38, Friday
   Contact:                                                          Reference: Follow Up Supplement




 redacted          at 1205. The call was answered by an unidentified male that stated we had the wrong number.

  redacted      at 1206. The telephone number was disconnected or no longer in service. This number was obtained
 from the JIMS database.

 Return calls have not been received by SSA redacted or Deputy redacted as of March 6, 2019.

 Audio recordings attached.

 End of supplement.




       Investigator Signature                                     Supervisor Signature

                                                                                                                   Page 16


                                                                                   CORECIVIC_DOE000056
                                        CASE SUPPLEMENTAL REPORT                                Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                  OCA:    190201927
                  TH E INFORMATION BELOW IS CONF IDENTIA L- FOR USE BY A UTHORIZED PERSONNEL ONL Y

Case Status: ACTIVE                          Case Mng Status: CLOSED                          Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted              )                              Date/Time: 03/26/20191 4:3 7: 43, Tuesday

Supervisor: redacted               )              Supervisor Review Date/Time: 05/ 13/201916:53:41, Monday
   Contact:                                                          Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 March 8, 2019; 11:00 AM

 Senior Special Agent redacted with Immigration and Custom Enforcement provided a last known address on the
 victim,redacted       . Their records indicated the last address for Ms. redacted to be redacted
 redacted                       . This address matched the CLEAR database.

 After several negative attempts to contact redacted    , Special Agent redactedand I traveled to redacted
 redacted                                                              . We arrived to the leasing office and spoke with
 apartment associate, redacted        , who we explained we needed the past tenant information for apartment number
 1514 C between the dates of January 2018 to June 2018. Ms. redacted provided limited information and then referred us
 to the apartment leasing manager, redacted      .

 We spoke with Mr. redacted who provided us with a copy of the leasing agreement.

 We reviewed   t~greement            and noticed that in January 2018 the apartment was leased out to a female, redacted
 redacted (DOB: - - -). Clear records revealed redacted             was linked to redacteds apartment. That female
 matched the possible alias last name of the victim, redacted       .

 11:50 AM

 We made contact with the female redacted           at the provided phone number redacted         . We introduced
 ourselves and explained the reason for our call. Ms. redacted advised she was the daughter of victim, redacted     . She
 stated her mother currently lives in Mexico since her deportation. She stated her mother never mentioned anything
 about a possible sexual assault against her at any facility. She provided a current phone number to contact redacted
 in Mexico,redacted               .

 12:35 AM


 We changed our location to Special Agent redacted office located at 2000 Crawford St. in an attempt to contact the
 victim, redacted     , via sector due to the call being international distance. The following is brief sysnopsis




       Investigator Signature                                     Supervisor Signature

                                                                                                                 Page 17


                                                                                  CORECIVIC_DOE000057
                                            CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                        OCA:   190201927
                       THE INFORMATION BELOW IS CONF IDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                             Case Mng Status: CLOSED                             Occurred: 02/06/2019

    Offense: SEXUAL ASSA ULT


Investigator: redacted                  )                              Date/Time: 03/261201914:37: 43, Tuesday

Supervisor: redacted                   )             Supervisor Review Date I Time: 05/ 13/2019 16:53:41, Monday
    Contact:                                                             Reference: Follow Up Supplement



 of her statement.

 redacted
       said she was not sexually assaulted and did not witness the commission of a sexual assault during her
 incarceration at the Houston Center detention facility. redacted stated her daughter, redacted  , was an investigator for
 Harris County, Houston, TX. She said she would have notified her daughter if she had been a victim of a sexual assault
 to report the crime.
 redacted
       stated she was detained in Houston, TX at an ICE detention facility from February through June 2018. redacted
 sstated she arrived and was detained in a cell at the same time with redactedand another female the night before they
 were deported. redacted stated the cell was equipped with a telephone and a surveillance camera. redacted stated she did not
 remember the female ' s name, but described her as a blonde female, approximately 5'3 , with a light complexion. redacted
 stated two or more officers wearing uniforms opened the cell, one officer entered the cell and called the blonde female ' s
 name, and she walked out of the cell. redacted said the blonde female returned approximately ten minutes later. redacted
 stated the blonde female was taken out of the cell again by an officer wearing civilian clothing and when she returned
 approximately twenty to twenty-five m inutes later, the female' s hand was red and bruised. redacted said she heard the
 female did not want to sign her docum entation because she wanted to see an immigration judge. redacted stated the female
 appeared nervous upon her return and heard her state that officers forced her to sign.

 redacted
            said she had been assigned to hand out clothes in a room where the three women changed prior to being deported.
 redacted
            stated she did not remember if the blonde female was taken out of that room at one point.

 redacted
       said the blonde fema le was mistreated verbally by the unidentified officer that forced her to sign. redacted stated she
 found it strange that the officer was traveling in a dark vehicle, possibly a Nissan Sentra, behind the bus that transported
 the deportees to the Mexican border. redacted said the bus stopped at a gas station and the bus driver and two other
 officers onboard took a break and retu rned with snacks. redacted stated the Hispanic officer exited his vehicle and boarded
 the bus. redacted said the second officer in the vehicle also exited the vehicle but stood near the bus door. redacted stated the
 female was upset when she saw the officer board the bus. redacted said the officer spoke to the female in Spanish
 regarding her refusal to sign and heard the female ask him why he had so much hatred for her. redacted described the
 officer as a handsome Hispanic male, approximately 5' 8, a thick build, and a medium complexion. redacted stated she
 believed she could identify the officer in a photograph.

 redacted
       stated the bus arrived at the border and the deportees exited the bus. She said the vehicle the Hispanic officer was
 riding in parked in front of the bus. redacted stated the bus was fully loaded with male deportees. redacted said the Hispanic
 officer and a second officer armed with a long gun walked the deportees to the bridge. redacted stated she heard the
 Hispanic officer tell the blonde female that he had to verify her departure.




            Investigator Signature                                    Supervisor Signature

                                                                                                                         Page 18


                                                                                       CORECIVIC_DOE000058
                                             CASE SUPPLEMENTAL REPORT                                    Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                           OCA:   190201927
                       THE fNFORMA TION BELOW IS CONF IDENTI AL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTI VE                             Case Mng Status: CLOSED                               Occurred: 02/06/2019

     Offense: SEXUAL ASSAULT


Investigator: redacted                   )                              Date I Time: 03/26/2019 14:37:43, Tuesday
 Supervisor:     redacted                              Supervisor Review Date I Time: 05/ 13/2019 16:53 :41, Monday
    Contact:                                                              Reference: Follow Up Supplement




 redacted
       said she was not a victim, was not raped and was not sexually assau lted. redacted stated she did not witness a rape or
 sexual assault the night of her deportation. redacted said neither of the two women told her they were raped. redacted stated
 the blonde female ' s face and hand were red but the other female, redacted had no visible bruises or marks on her face.

 redacted                                                              redacted
      stated she saw no males enter her cell with covered faces.                  said she saw no males with their faces covered
 onboard the bus.

 redacted
      stated her last contact with redactedand redacted was at the Mexican immigration station, as they did not exchange
 contact information .

 Audio recording attached.

 End of supplement.




            Investigator Signature                                     Supervisor Signature

                                                                                                                          Page 19


                                                                                           CORECIVIC_DOE000059
                                         CASE SUPPLEMENTAL REPORT                                   Printed: 07/22/2020 17:20



Harris County Sheriffs Office                                                                     OCA :   190201927
                  THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                           Case Mng Status: CLOSED                             Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted               )                                Date I Time: 03/26/2019 16:43:41, Tuesday
Supervisor: redacted                                Supervisor Review Date I Time: 03/26/2019 18:29:16, Tuesday
   Contact:                                                            Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriff s Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 March 20, 2019

 Senior Special Agent redacted with Immigration and Custom Enforcement provided a last known address on the
 victim, redacted     . Their records indicated the last known address for Ms. redacted are redacted              ,
 redacted                                             . I checked the CLEAR database and was able to confirm those
 addresses.

 Due to several negative attempts to contact victim redacted      via cell phone we decided to send the local agencies to
 do a Welfare Check at the last known address in an attempt to contact the victim .

 6:00PM

 I made contact with McAllen Police department dispatch and asked them to do a Welfare Check on the victim redacted
 redacted                                               . I advised dispatch to have the on-scene officer call me at my
 contact number to advise of the fmdings.

 6:11PM

 I made contact with Pharr Police department dispatch and asked them to do a Welfare check on the secondary address
 found for victim redacted                                                      . I advised dispatch to have the
 on-scene call me at my contact number to advise of the findings.

 6:47PM

 I recieved a phone call from Pharr PD dispatch who advised that the victim redacted            no longer lives at that
 residence. She stated the officer cleared the call at 18:46 with negative results on the victim.

 March 21 , 2019; 5:06PM

 I made a second attempt to contact McAllen Police department and asked them to do a Welfare Check on the victim at
redacted                      .




       Investigator Signature                                       Supervisor Signature
                                                                                                                      Page 20


                                                                                     CORECIVIC_DOE000060
                                        CASE SUPPLEMENTAL REPORT                                    Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                     OCA:   190201927
                   THE !NFORMA T!ON BELOW IS CONFIDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                         Case Mng Status: CLOSED                               Occurred: 0210612019

    Offense: SEXUAL ASSAULT


Investigator: redacted              )                              Date I Time: 03/26/2019 I 6:43:4I, Tuesday
Supervisor: redacted               )             Supervisor Review Date I Time: 03/26120 / 9 I 8:29: I 6, Tuesday
   Contact:                                                          Reference: Follow Up Supplement




 6:02 PM

 I recieved a call back from Officer Rodriguez with the McAllen Police Department. She advised she knocked on the
 door of the residence located at redacted      . with negative results on the female victim. She advised no one
 answered the door.

 I received an email from Officer Rodriguez with her fmdings.

 Email attached.

 Audio recordings attached.

 End of supplement.




       Investigator Signature                                     Supervisor Signature
                                                                                                                     Page 21


                                                                                    CORECIVIC_DOE000061
                                        CASE SUPPLEMENTAL REPORT                                    Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                     OCA:   190201927
                  THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUTHOR IZED PERSONNEL ONLY

Case Status: ACTIVE                           Case Mng Status: CLOSED                             Occurred: 0210612019

    Offense: SEXUAL ASSAULT


Investigator: redacted                                               Date I Time: 04/05/201912:03:33, Friday
Supervisor: redacted                )              Supervisor Review Date I Time: 04/05/2019 12:3 7: 08, Friday
   Contact:                                                            Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigations Bureau
 Adult Special Victims Unit

 Friday, AprilS, 2019
 12:29 p.m.

 This supplemental report is to document that I electronically uploaded the photographs captured on Friday, January 25 ,
 2019, from the Immigration Customs Enforcement (ICE) Detention Facility located at 15850 Export Plaza Drive.

 A total of 122 photographs were captu red of the interior and exterior of the detention facility during the tour.

 All photographs were electomically uploaded into the ADAMS software for safe storage.

 This concluded my activities for this day on this specific investigation. All references made regarding times in this
 investigative supplement are approximate.

 No other information
 End of supplemental report.




       Investigator Signature                                       Supervisor Signature
                                                                                                                     Page 22


                                                                                     CORECIVIC_DOE000062
                                       CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                  OCA:    190201927
                  THE I FORMATION BELOW IS CONF IDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                          Case Mng Status: CLOSED                           Occu rred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted                                             Date/Time: 04/ 15/201916:51 :59, Monday
Supervisor: redacted                              Supervisor Review Date I Time: 05/ 13/2019 16:57:49, Monday
   Contact:                                                          Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit



 April 2, 2019

 Senior Special Agent (SSA) redacted , ICE Office of Professional Responsibility, Houston, TX (OPR Houston)
 contacted DO redacted a, ERO Houston, to coordinate a request for assistance from the Office of the Consulate
 General of Mexico located in Houston, TX. The nature of the request was to identify contact information for alleged
 victim redacted

 On April3 , 2019

 SSA redacted received contact information for alleged victim redacted from the Office of the Consulate General of Mexico.
 The Consulate General of Mexico, Miguel Angel Miralrio Soto, provided information for redacted including the
 following:

 Sister: redacted
 Phone: redacted

 Boyfriend: redacted
 Phone: redacted

 April4, 2019

 We attempted to make contact with Victim redacted at the following phone numbers:

 redacted         at 1:34 p.m. The call was not answered, and a message was not recorded because the voicemail box
 had not been set up, per a generic recorded message.

 redacted         at 1:39 p.m. The call yielded a busy tone.

 We sent a text message to telephone number redacted           at 1:57 p.m. The text message identified SSA redacted




       Investigator Signature                                     Supervisor Signature

                                                                                                                  Page 23


                                                                                  CORECIVIC_DOE000063
                                         CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                     OCA:   190201927
                  THE I FORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUT HORIZED PERSONNEL ONLY

Case Status: ACTIVE                           Case Mng Status: CLOSED                             Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted               )                                Date/Time: 04/ 15/201916:51 :59, Monday
Supervisor: redacted                                Supervisor Review Date I Time: 05/ 13/2019 16:57:49, Monday
   Contact:                                                            Reference: Follow Up Supplement



 and Deputy redacted and contained SSA redacted cellular telephone number as the call-back number.

 We also sent a text message to telephone number redacted           at 2:00p.m. The text message identified SSA redacted
 and Deputy redacted and contained SSA  redacted cellular telephone number as the call-back number.

 I contact Deputy redacted HCSO, who queried telephone number redacted                   in the CLEAR online investigation
 database. The query yielded the name redacted     and the address redacted
 redacted .

 SSA redacted and I contacted the redacted PD to request a we lfare check at redacted
 redacted

 2:30p.m.

 Pharr Police Officer redacted          contacted SSA redacted and I prior to conducting the welfare check, per our
 instructions. We instructed Officer  redacted to leave a business card with SSA redacted cellular telephone number at the
 door if results at the residence were negative.

 2:40p.m

 Officer redacted stated he conducted the welfare check with negative resu lts. Officer redacted said he placed a business
 card with SSA redacted cellular telephone number at the front door of the residence.


 3:49p.m.

 Victim redacted called SSA redacted cellular telephone number from telephone number redacted            . redacted stated
 she called from her son's cellular telephone and identified telephone number redacted           as her number. redacted
 stated she arrived at her residence and saw a business card on her door, so she called the telephone number on the card.

 redacted confirmed her identity by providing her date of birth,                  . redacted stated she pled gui lty to a
 crime that her brother committed and served one year of con                        and Marlin Units located in Marlin,
 TX. redacted said she was transferred to the HCDF upon her release from the unit in Marlin, TX.

 redacted stated she was treated badly by immigration officers during her detention at the HCDF. redacted said she




       Investigator Signature                                       Supervisor Signature
                                                                                                                    Page 24


                                                                                        CORECIVIC_DOE000064
                                         CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                     OCA :   190201927
                  THE INFORMATION BELOW IS CONF IDENT IAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                            Case Mng Status: CLOSED                           Occurred: 02/06/2019

    Offense: SEXUAL ASSAULT


Investigator: redacted               )                                Date I Time: 04/ 15/2019 16:51:59, Monday
Supervisor: redacted                                Supervisor Review Date I Time: 05/ 13/2019 16:57:49, Monday
   Contact:                                                            Reference: Follow Up Supplement



 was taken out of her cell by an immigration officer that she described as Mexican, while four men and a female guard
 observed. redacted stated the Mexican immigration officer took her fingerprint. redacted said her hands were fo lded and
 her fmgerprints forcibly taken because she did not want to sign her documents.

 redacted stated the Mexican immigration officer was riding in a vehicle beside the bus whi le she and other deportees
 were traveling to the border. redacted said the immigration officer boarded the bus she was traveling in and told her he
 was doing his job by deporting her. redacted stated the same officer walked her halfway through the bridge to ensure she
 left the United States.

 redacted said she was treated badly, however was not a victim of sexual assault. redacted stated she was not sexually
 assaulted or raped. redacted said that nothing happened to her on the bus.

 redacted stated she did not witness a sexual assault act.

 redacted said the two other female deportees were not mistreated.

 redacted described redactedas being dressed in masculine attire. redacted stated she did not observe bruises or marks on
 redacted face. redacted said redacteddid not mention anything to her about a sexual assault or rape.

 redacted stated she had no further contact with the two female deportees after their deportation . redacted said she
 befriended a female at the border in Mexico and took her to her residence, but she was not redacted or redacted

 Audio recording attached.

 End of supplement.




       Investigator Signature                                        Supervisor Signature
                                                                                                                        Page 25


                                                                                     CORECIVIC_DOE000065
                                            CASE SUPPLEMENTAL REPORT                                  Printed: 07/22/2020 17:20


Harris County Sheriffs Office                                                                       OCA :   190201927
                       THE INFORMATION BELOW IS CONFIDENTIAL- FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: ACTIVE                             Case Mng Status: CLOSED                            Occurred: 02/06/2019
    Offense: SEXUAL ASSAULT


Investigator: redacted                  )                              Date/Time: 04/26/201913:11 :49, Friday
 Supervisor: redacted                                Supervisor Review Date I Time: 05/ 13/20 /9 16:58: 49, Monday
    Contact:                                                            Reference: Follow Up Supplement



 Deputy Investigator redacted
 Harris County Sheriffs Office
 Criminal Investigation Bureau
 Adult Sex Crimes Unit

 AprilS, 2019;12:45 PM

 SSA redacted and I called telephone num ber redacted        3. The call was answered bythe victim redacted
 redacted SSA redacted and I identified ourselves to Ms. redactedwho stated she remembered speaking to the
 investigators the previous month. redactedstated her attorney told her to notify him if anyone called her.

 Ms. redactedstated she previously told investigators that she was raped and gave birth to a daughter as a result. Ms.
 redacted stated two additional women housed in her cell were also raped. Ms.redactedstated the women were also
 passengers on the bus she was transported when she was deported to Mexico.

 SSA redacted and I informed Ms.redactedthat detainees redacted and redacted the women housed in her cell and transported
 on the same bus to Mexico, had been located and interviewed.

 SSA redacted and I informed Ms.redactedshe would be given one more opportunity to tell the truth. SSA redacted told Ms.
 redactedthat lying to a federal officer or a state investigator was a crime that could subject a person to a fine and jail
 time. SSA redacted stated to Ms. redactedthat the investigation was complete.

 SSA redacted told Ms.redactedto pay close attention to and to think carefu lly about the response to the question SSA
 redacted
       was going to ask her. Ms.redactedstated to investigators that she understood what SSA redacted was telling her.
     redacted
 SSA          asked MS.redacted if she had anything else to say or if she would like to clarify any matter regarding
 Ms.redactedstatement that she and two other women were raped . Ms. redactedstated she had nothing to say.

 SSA redacted informed redactedthat redacted and redacted stated they were not raped or sexually assau lted. They also stated
 they did not witness redacted being raped or sexually assaulted. SSA redacted told Ms. redactedthe women said what she
 stated occurred in Houston, TX did not happen. SSA redacted asked redactedwhat she had to say regarding the matter.

MS . redacted stated that what she said occurred did happen, however it did not happen in the cell at the Houston
Detention Facility. Ms. redacted initially said the assault occurred in Mexico, then stated it occurred in Laredo, TX.
redactedsaid she lied when she stated the assault occurred in Houston, TX because she wanted to secure a United
States (US) visa to return to the US to work so she cou ld provide for her children.




            Investigator Signature                                   Supervisor Signature
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                                                                                      CORECIVIC_DOE000066
                                        CASE SUPPLEMENTAL REPORT                                                 Printed: 07/22/2020 17:20


Harris County Sheriff's Office                                                                               OCA:    190201927
                  THE INFORMA T!ON BELOW IS CONF IDENT IAL - FO R USE BY AUTHO RIZED PE RSONNEL ONLY

Case Status: ACTIVE                          Case Mng Status: CLOSED                                        Occurred: 02106/2019
    Offense: SEXUAL ASSAULT


Investigator: redacted                                              Date I Time: 04/26/2019 13:11 :49, Friday
Supervisor: redacted                )              Supervisor Review Date I Time: 05/ 13/20 19 16:58:49, Monday
   Contact:                                                           Reference : Follow Up Supplement




 Ms. redactedsaid several women in Nuevo Laredo, Mexico spoke to her about the visa and told her to state she was
 raped. Ms. redacted stated the women had also been previously deported from a detention center via Laredo, TX. She
 said she was not raped by detention officers at the Houston detention facility as she had previously stated. She said she
 was raped in Nuevo Laredo, Mexico by three men whose faces were covered.

 SSA redacted informed redactedthat if the rape did occur, it occurred within the jurisdiction ofNuevo Laredo, Mexico.
 SSA redacted stated to redactedthat if she wished to pursue charges, she would have to notify the authorities in Nuevo
 Laredo, Mexico. SSA redacted informed redactedthat she and Deputy redacted did not have jurisdiction to investigate the
 alleged rape that occurred in Mexico. SSA redacted and I informed redactedthat the rape complaint filed on her behalf in
 Houston, Harris County, TX would be closed . I advised Ms. redactedto notify her attorney of the case closing. She
 stated she would notify her attorney and apologized for lying.

 I then attempted to contact the law office of Jose Sanchez, Ms. redacted attorney, to inform him of the case closing.
 The receptionist stated Mr. Sanchez was not in the office, and no message was provided.

 Audio of Victim redactedattached.

 CASE CLOSED.

 End of supplement.




                                                                         '   f\,rr is County Sheri ff's Office




       Investigator Signature                                      Supervisor Signature

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